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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLORADO

  Civil Action No. 21-cv-02145-CMA-KAS

  WELL MASTER CORPORATION,
  a Colorado Corporation,

        Plaintiff,

        v.

  FLOWCO PRODUCTION SOLUTIONS, LLC
  a Texas Limited Liability Company,

        Defendant.



                                   EXHIBIT D TO

                     DEFENDANT’S MOTION FOR SANCTIONS
                     FOR VIOLATION OF PROTECTIVE ORDER
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                                                                    Partner
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                                                                    Direct: 303-808-4706
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                                              August 17, 2023

  VIA ELECTRONIC MAIL

  Benjamin B. Lieb, Esq.
  TALUS LAW GROUP LLC
  2816 South Adams Street
  Denver, Colorado 80210
  ben@taluslaw.com

         Re:     Well Master Corporation v. Flowco Production Solutions, LLC
                 USDC, District of Colorado, Case No. 21cv2145-CMA-KAS

  Dear Ben:

         It has come to my attention that Well Master has been writing to customers of Flowco
  which were identified in Flowco’s December 28, 2022 discovery made available as the result of
  the Court’s December 8, 2022 Order (ECF # 111).

         You may recall that to obtain the December 8, 2022 Order, you represented to the Court:

         Contrary to Defendant’s assertions nowhere in his declaration does Mr. Marino
         state or suggest that Well Master knows the customers who have purchased and
         used Defendant’s accused plungers. That information is only known to
         Defendant.

  ECF # 110, at 2 (emphasis supplied). The Court accepted your representation and relied upon it.
  ECF # 111, at 4, n.2. As a result, the Court ordered Flowco to provide to Well Master a list of its
  top ten customers, and, among other things, the business name, contact information and address
  of those customers.

          Flowco provided that information to you on December 28, 2022. The information
  provided was designated as Attorneys Eyes Only under the Protective Order that was agreed by
  the parties and entered as an Order of the Court. ECF # 41.




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          Given that the customers who had purchased and used Flowco’s accused plungers were
  only known to Defendant prior to the AEO disclosures made on December 28, 2022, it is
  difficult for me to understand how such customers could have received correspondence from
  Well Master without a violation of the Protective Order. Accordingly, we need to consider a
  motion for sanctions. Before filing such a motion, we request a meet and confer conference with
  you forthwith, as the matter is both serious and urgent.

         Please let me know when you are available to discuss the above.


                                                           Very truly yours,
                                                           FISHERBROYLES, LLP

                                                           FRANK PORADA

                                                           FRANK C. PORADA




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